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  Electronics, Inc.

                       UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF NEW JERSEY


  THE UNITED STATES OF AMERICA
                                              DOCUMENT ELECTRONICALLY
                    Plaintiff,                FILED

              V.                              Return Date: June 16, 2014

  CORNELL-DUBILIER                            Civil Action No. 2:12-cv-05407-JLL-
  ELECTRONICS, INC.,                          MAH

                    Defendant.


   CERTIFICATION OF ROBERT S. SANOFF IN SUPPORT OF THE REPLY
     MEMORANDUM OF CORNELL-DUBILIER ELECTRONICS, INC.
      IN SUPPORT OF THE MOTION TO ENTER CONSENT DECREE


         I, ROBERT S. SANOFF, of full age, do hereby certify as follows:

         1.   I am a partner at the law firm Foley Hoag LLP, 155 Seaport

  Boulevard, Boston, MA 02210. I am one of the attorneys representing the

  Defendant Cornell-Dubilier Electronics, Inc. ("CDE") in the above-captioned
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  matter. I make this Certification on the basis of personal knowledge unless

  otherwise indicated. I submit this Certification in support of CDE's Reply

  Memorandum in Support of the Motion to Enter Consent Decree.

        2.      Attached hereto as Exhibit 1 are true and accurate copies of three

  letters sent 'on behalf of CDE, one to each of Lloyds of London ("Lloyds), CNA

  Insurance Company ("CNA"), and Northbrook Insurance Company ("Allstate")

  (these three insurers are collectively referred to herein as the "Insurers"), each

  dated in March of 1992.

        3.     Attached hereto as Exhibit 2 are true and accurate copies of letters

  sent to CDE by or on behalf of Lloyds and Allstate, dated in 1992 and 1993 with

  respect to the March 1992 notice letters sent by CDE.

        4.     Attached hereto as Exhibit 3 are true and accurate copies of letters

  sent on behalf of CDE to the Insurers in 1996 and 1997.

         5.    Attached hereto as Exhibit 4 are true and accurate copies of letters

  from the Insurers to counsel for CDE, dated in 1996 and 1997.

         6.    Attached hereto as Exhibit 5 is a true and accurate copy of a June 26,

  2009 Order and Opinion issued in Home Insurance Company v. Cornell-Dub ilier

  Electronics, Inc., C.A. No. MER-L-463-05 (Superior Court of New Jersey, Law

  Division, Mercer County) (the "Coverage Litigation").




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            7.    Attached hereto as Exhibit 6 is a true and accurate copy of a March

  4, 2004 Order from the Coverage Litigation after a trial with respect to the South

  Plainfield Site.

            8.    Attached hereto as Exhibit 7 is a true and accurate copy of a 2006

  stipulation by CNA with respect to the South Plainfield Site (as well as other

  sites).

            9.    Attached hereto as Exhibit 8 is a true and accurate copy of the text of

  an August 16, 2012 Certification of Robert S. Sanoff submitted in the Coverage

  Litigation.

            10.   Attached hereto as Exhibit 9 is a true and accurate copy of a

  September 25, 2007 Updated Proof of Claim filed by the United States in In re

  Dana Corporation, 07 CIV 8160 (SAS) and 06-10354 (BRL).

            11.   Attached hereto as Exhibit 10 is a true and accurate copy of a

  newspaper article published in the Star-Ledger on June 22, 2003, as retrieved from

  the Star-Ledger's online archives on June 3, 2014.

            12.   On April 27, 2012, several months before the form of the Consent

  Decree was agreed upon by the parties, CDE received from the United States

  Department of Justice, by email, a detailed spreadsheet of projected future cleanup

  costs at the Site and over one hundred pages of reports relating to Natural

  Resource Damages. These reports contained the core information presented in the


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  final Natural Resource Damages reports that were filed with this Court. Over a

  year ago in the Coverage Litigation, CDE produced those documents to Exxon,

  CNA, and Lloyds pursuant to a protective order bates stamped BOS-00246190-

  BOS-00246304.

        13.    Attached hereto as Exhibit 11 is a true and accurate copy of a letter

  dated July 19, 2011, sent on behalf of CDE to counsel for Lloyds, which was

  erroneously dated and was actually sent on July 19, 2012. A letter with the same

  content was sent to the other Insurers on the same date.

        14.    Attached hereto as Exhibit 12 is a true and accurate copy of a July

  27, 2012 letter from counsel for Lloyds to counsel for CDE.

        15.    Attached hereto as Exhibit 13 is a true and accurate copy of a June

  17, 2003 letter from counsel for CDE to counsel for Lloyds. A letter with the

  same content was sent to other insurers, including Allstate.

        16.    Attached hereto as Exhibit 14 is a true and accurate copy of a June

  20, 2003 letter from counsel to Lloyds to counsel for CDE.

        17.    Attached hereto as Exhibit 15 is a true and accurate copy of a July

  30, 2012 letter from counsel for CDE to counsel for Lloyds.

        18.    Lloyds never responded to CDE's July 30, 2012 letter.




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          19.   Attached hereto as Exhibit 16 is a true and accurate copy of a

  September 3, 2004 letter and comments submitted by Batelle to the U.S. EPA on

  behalf of CDE.

          20.   In the 1990s, CDE retained a national environmental consulting firm,

  Environ, to advise it on environmental conditions at the Site. Environ continued to

  advise CDE about environmental conditions at the Site as the cost estimates

  escalated to over $300 million in 2007.

          21.   Attached hereto as Exhibit 17 is a true and accurate copy of the

  March 2011 "Fourth Explanation of Significant Differences" relating to Operable

  Unit 1 of the New Bedford Harbor Superfund Site, as accessed from the U.S.

  EPA's website (at

  http://www.epa.gov/regionl/superfund/sites/newbedford/479471.pdf) on June 4,

  2014, excluding figures, tables, and other attachments.

          22.   Attached hereto as Exhibit 18 is a true and accurate copy of a

  document prepared by U.S. EPA, dated October 25, 2012, and titled "New

  Bedford Harbor Superfund Site Supplemental Consent Decree with Defendant

  AVX Corporation Additional Frequently Asked Questions", as accessed from the

  U.S. EPA's website (at

  http://vvvvw.epa.gov/regionl/superfund/sites/newbedford/507282.pdf) on June 4,

  2014.


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         23.     Attached hereto as Exhibit 19 is a true and accurate copy of an

   October 10, 2012 News Release from the U.S. EPA titled "AVX Corp. to Pay

   $366 Million in Settlement, Accelerating Cleanup of New Bedford Harbor

   Contamination in Massachusetts" as retrieved from the U.S. EPA's website on

  June 4, 2014.

         24.     Attached hereto as Exhibit 20 is a true and accurate copy of a July,

  2004 Proposal Plan for Operable Unit 2, prepared by EPA.

         25.     Attached hereto as Exhibit 21 is a true and accurate copy of a

   September, 2012 Record of Decision: Operable Unit 3 Groundwater for the South

  Plainfield Site, prepared by the U.S. EPA, excluding appendices and other

  attachments.

         26.     Attached hereto as Exhibit 22 is a true and accurate copy of June 5,

  2012 email correspondence between counsel for Exxon, and counsel for CDE.



         I hereby certify that the foregoing statements made by me are true. I am

  aware that if any of the foregoing statement           y me are willfully false, I am

  subject to punishment.


   Dated: June 9, 2014
                                           Robert S. anoff




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